
Kinsey C. J.
delivered the opinion of the court on the principal question;,
*124By the affidavit of Bickham it appears, that he heard Sloan tell Paul of the hardship of his case, and of the circumstances of the dispute between Harrison and himself, before a number of persons. Two or three other witnesses prove generally, that the plaintiff did in the presence of Paul express himself on the subject of the dispute, and that Paul appeared to be attentive to the conversation. What effect was actually produced in this manner upon the mind of the juror, it would be impossible to know, but we must say, that such a course was altogether improper, and wears the appearance of design.
A party should not be suffered either directly or indirectly to prepossess the mind of a juror; it is improper for him to speak of, or to press his case in the hearing of one, whom he knows is to pass upon the subject in dispute as one of the constituted judges. It may make an impression and that is sufficient. We think it the duty of the court to hold a strict rein, over the conduct of the parties, and to guard the purity of the trial by jury with the utmost circumspection. If this be permitted it is impossible for us to foresee how far the next attempt may be carried.
An application for a new trial is made to the discretion of the court, and we think it cannot be exercised to more advantage than in showing a pointed disapprobation of the most distant attempts to influence the minds of the jury and to corrupt the purity of justice. Let the rule be
Absolute for a New Trial.
Leake prayed that Sloan might be compelled to pay the costs.
Per Cur.
If it had appeared that Sloan acted with a criminal intent we should have made him pay costs, but as this does not appear, the costs must attend the event of the suit.
